









Dismissed and Memorandum Opinion filed February 26, 2004









Dismissed and Memorandum Opinion filed February 26,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00145-CR

____________

&nbsp;

BEC WILSON,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
County Court at Law No. 12

Harris County,
Texas

Trial Court Cause No.
1187282

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

&nbsp;








Judgment rendered
and Memorandum Opinion filed February 26, 2004.

Panel consists of
Chief Justice Hedges and Justices Frost and Guzman. 

Do not publish C Tex.
R. App. P. 47.2(b).

&nbsp;





